                 Case 1:24-cr-00249-PTG
11/14/24, 12:32 PM                                    Document 8  Filed
                                                               Guam        11/14/24
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                                                                                         (v6.2.2) 1 of 17 PageID# 17


                                      Query      Reports            Utilities   Help    What's New    Log Out

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                                Civil/Criminal CM/ECF System
                               District Court of Guam (Hagatna)
                    CRIMINAL DOCKET FOR CASE #: 1:24-mj-00142 All Defendants


  Case title: USA v. Rahman                                                            Date Filed: 11/13/2024

  Assigned to: Chief Judge Frances M.
  Tydingco-Gatewood

  Defendant (1)
  Asif William Rahman

  Pending Counts                                                                       Disposition
  None

  Highest Offense Level (Opening)
  None

  Terminated Counts                                                                    Disposition
  None

  Highest Offense Level (Terminated)
  None

  Complaints                                                                           Disposition
  None



  Plaintiff
  USA                                                                  represented by Brett C. Reynolds
                                                                                      U.S. Department of Justice
                                                                                      National Security Division
                                                                                      Washington, DC 20530
                                                                                      202-233-2113
                                                                                      Email: Brett.Reynolds@usdoj.gov
                                                                                      LEAD ATTORNEY
                                                                                      ATTORNEY TO BE NOTICED
                                                                                      Designation: Other


   Date Filed           # Docket Text

https://gud-ecf.sso.dcn/cgi-bin/DktRpt.pl?212327899515459-L_1_0-1                                                            1/2
                 Case 1:24-cr-00249-PTG
11/14/24, 12:32 PM                                    Document 8  Filed
                                                               Guam        11/14/24
                                                                    Civil/Criminal CM/ECFPage
                                                                                         (v6.2.2) 2 of 17 PageID# 18

   11/13/2024           1 Petition for Writ of Removal as to Asif William Rahman. (wmt,) (Main Document 1
                          replaced on 11/14/2024) (hpg, ). (Entered: 11/13/2024)
   11/13/2024               Set/Reset Hearings as to Asif William Rahman: Initial Appearance on a Petition for Writ of
                            Removal is set for 11/14/2024 at 04:00 PM in 4th Floor Courtroom before Chief Judge
                            Frances M. Tydingco-Gatewood. (wmt, ) (Entered: 11/13/2024)
   11/14/2024           2 Minute Entry for proceedings held before Chief Judge Frances M. Tydingco-Gatewood:
                          Initial Appearance on Petition for Writ of Removal as to Asif William Rahman held on
                          11/14/2024. Ms. Lujan made limited appearance for defendant. Defendant waived identity
                          and consented to transfer to the Eastern District of Virginia. Writ of Removal executed.
                          Defendant to be detained. Ms. Lujan's request for expedited transfer was granted. (Court
                          Reporter Veronica Flores)(Start Time: 4:20, End Time: 4:39) (lth) (Entered: 11/14/2024)
   11/14/2024           3 Waiver of Identity filed by Asif William Rahman. (lth) (Entered: 11/14/2024)
   11/14/2024           4 Order as to Asif William Rahman. Signed by Chief Judge Frances M. Tydingco-Gatewood
                          on 11/14/2024. (lth) (Entered: 11/14/2024)
   11/14/2024           5 Writ of Removal to Eastern District of Virginia Issued as to Asif William Rahman. Signed
                          by Chief Judge Frances M. Tydingco-Gatewood on 11/14/2024. (lth) (Entered: 11/14/2024)




https://gud-ecf.sso.dcn/cgi-bin/DktRpt.pl?212327899515459-L_1_0-1                                                        2/2
       Case 1:24-cr-00249-PTG Document 8 Filed 11/14/24 Page 3 of 17 PageID# 19



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      PHONE: (671) 472-7332
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      Assistant Attorney General for National Security
 6    Brett C. Reynolds
      Trial Attorney
      Counterintelligence and Export Control Section
 7    National Security Division, U.S. Department of Justice
      Washington, D.C. 20530
 8    Brett.Reynolds@usdoj.gov
      (202) 233-2113 (office) / (202) 704-9720 (cell)
 9
     Attorneys for the United States of America
10
                                  IN THE DISTRICT COURT OF GUAM
11
      UNITED STATES OF AMERICA,                        MAGISTRATE CASE NO. 24-00142
12
                     Plaintiff,
13                                                                 WRIT OF REMOVAL
                     vs.
14
      ASIF WILLIAM RAHMAN,
15
                     Defendant.
16
     TO:    U.S. MARSHAL
17          District of Guam
18          An Indictment for Defendant, ASIF WILLIAM RAHMAN, having been filed in the United

19   States District Court for the Eastern District of Virginia, Criminal Case No. 1:24-cr-249, charging

20   him with two counts of Willful Retention and Transmission of National Defense Information in

21   violation of 18 U.S.C. § 793(e) and a Warrant for Arrest having been issued for his arrest, and

22          Said Defendant, ASIF WILLIAM RAHMAN, having been arrested and brought to this

23   District on a warrant of arrest issued pursuant to the above Indictment, admitted identity, and to

24   being held to answer in the Eastern District of Virginia, Defendant, ASIF WILLIAM RAHMAN,




                Case 1:24-mj-00142        Document 5        Filed 11/14/24     Page 1 of 2
       Case 1:24-cr-00249-PTG Document 8 Filed 11/14/24 Page 4 of 17 PageID# 20



 1   is committed to your custody pending removal to the Eastern District of Virginia;

 2          You are therefore commanded to remove ASIF WILLIAM RAHMAN, forthwith to the

 3   Eastern District of Virginia and there deliver him to the United States Marshal for the District or

 4   to some other officer authorized to receive him.

 5          IT IS SO ORDERED.

 6                                                             /s/ Frances M. Tydingco-Gatewood
                                                                   Chief Judge
 7                                                             Dated: Nov 14, 2024
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                Case 1:24-mj-00142        Document 5        Filed 11/14/24     Page 2 of 2
            Case 1:24-cr-00249-PTG Document 8 Filed 11/14/24 Page 5 of 17 PageID# 21



     1    SHAWN N. ANDERSON                       MATTHEW G. OLSEN
          United States Attorney                  Assistant Attorney General for National Security
 2        Sirena Plaza, Suite 500                 Brett C. Reynolds
           108 Hernan Cortez Avenue
                                                  Trial Attorney
                                                  Counterintelligence and Export Control Section
          Hagatna, Guam 96910                     National Security Division, U.S. Department of Justice
          PHONE: (671)472-7332                    Washington, D.C. 20530
 4        FAX: (671)472-7215                      Brett.Revnolds@,usdoi.gov
                                                  (202) 233-2113 (office) / (202) 704-9720 (cell)
 5                                                                                                     fniE}




                                                                                          district COURT OF uUAf/
 6
         Attorneys for the United States of America
                                                                                            NOV 1 3 202^
 7                                  IN THE UNITED STATES DISTRICT COURT
                                                                                       JEANNE G.QUINA7 a
                                        FOR THE TERRITORY OF GUAM                        CLERK OF COURT
 9
          UNITED STATES OF AMERICA,                           MAGISTRATE CASE NO.            24-00                  42
10
                          Plaintiff,
                                                              PETITION FOR WRIT OF i^MOVAL
11                        vs.



12
          ASIF WILLIAM RAHMAN,

13                        Defendant.

14
                 Petitioner, United States Attorney for the District of Guam, respectfully shows this Court
15       that:

16               1.     On November 7, 2024, the United States District Court for the Eastern District of
17
         Virginia filed an Indictment charging the Defendant, ASIF WILLIAM RAHMAN (“Defendanf’)

         with two counts of Willful Retention and Transmission of National Defense Information in

19
         violation of 18 U.S.C. § 793(e).
20               2.     On November 7, 2024, the United States District Court for the Eastern District of

21
         Virginia issued a Warrant of Arrest for the Defendant to be brought to the Eastern District of
22
         Virginia, to answer to the charges of the Indictment. A copy of the Indictment and WaiTant of
23
         Arrest ai-e attached and incoiporated herein as Exhibit 1.
24
                        On November 12, 2024, the Defendant was arrested in Cambodia and brought to

                                                          1


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       Case 1:24-cr-00249-PTG Document 8 Filed 11/14/24 Page 6 of 17 PageID# 22



 1   Guam.


 2           WHEREFORE, petitioner prays this Court to issue a Writ of Removal pursuant to Rule

 3   5(c) of the Federal Rules of Criminal Procedure, for said Defendant from the District of Guam to

 4   the Eastern District of Virginia.

 5           DATED this 13th day of November, 2024.

 6
                                          MATTHEW G. OLSEN
                                          Assistant Attor: leral
 7


 8
                                    By;
                                          PRETT C. RE
 9
                                          Trial Attorney
                                          Counterintelligence and Export Control Section
10                                        National Security Division

11


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 Case 1:24-cr-00249-PTG Document 8 Filed 11/14/24 Page 7 of 17 PageID# 23
Case l:24-cr-00249-PTG *SEALED* Document 2 *SEALED* (Court only)                           Filed 11/07/24
                                       Page 1 of 5 PagelD# 5                             '.       FILED
                                                                                                      IN OPEN COURT
                                                                                         ●7
                                                                                         >



                     IN THE UNITED S’l'ATES DISTRICT COURT FOR THI-
                             EASTERN DISTRICT OF VIRGINIA
                                                                                                CLERK II.S. DISTRin COilR'
                                    Alexandria Division                                           ALEX.fflL'Rlfl.ViRCiVif


 UNITED STATES OF AMERICA                           )         Case No. I:24-cr-249
                                                    )
         V.
                                                    )         Count One: 18U.S.C. § 793(e)
                                                    )         (Willful Retention and Transmission of
 ASIF WILLIAM RAHMAN,                               )         National Defense Information)
                                                    )
                         Defendant.                 )         Count Two: 18 U.S.C. § 793(e)
                                                    )         (Willful Retention and Transmission of
                                                    )         National Defense Infoimation)

                                             INDICTMENT


                              November 2024 Terra—Alexandria, Virginia

 THE GRAND JURY CHARGES THAT:

                                      GENERAL ALLEGATIONS

 At all times material to this indictment:

                                             'fhe Defendant

         1.       Defendant ASIF WILLIAM RAHMAN fTU-VHMAN'') was employed by the

 U.S.    Government.     In    connection    with       his   employment,    RAHMAN           held     a     TOP


 SECRE'iV/Sensitive Compartmented Information secui-ity clearance and had access to classified

 information and information relating to the national defense (“National Defense Information").

                                        Classilled Information

         9
                  National security information was information ow-ned by, produced by, produced

 for, and under the control of the United Slates govermnent. Pursuant to Executive Order 12958

 signed on April 17, 1995, as amended by Executive Order 13292 on March 25, 2003, and

 Executive Order 13526 on December 29, 2009, national security information was classified as
 U
     TOP SECRET.    “SECRET,"’ or “CONFIDENTIAL,” as follows:

         a.       Infoimation was classilied as TOP SECRET if the unauthorized disclosure of that
                  information reasonably could be expected to cause exceptionally grave damage to
                                                                                                     GOVERNMENT
                                                                                                        EXHIBIT


                                                                                                            1
              Case 1:24-mj-00142        Document 1             Filed 11/13/24        Page 3 of 8
  Case 1:24-cr-00249-PTG Document 8 Filed 11/14/24 Page 8 of 17 PageID# 24
Case l:24-cr-00249-PTG *SEALED* Document 2 *SEALED* (Court only)                           Filed 11/07/24
                                        Page 2 of 5 PagelD# 6



                  the national security that the original classification authority was able to identify or
                  describe.

        b.        Information was classified as SECRET if the unauthorized disclosure of that
                  information reasonably could be expected to cause serious damage to the national
                  security that the original classification authority was able to identify or describe.
        c.        Information was classified as CONFIDENTIAL if the unauthorized disclosure of
                  that information reasonably could be expected to cause damage to the national
                  security that the original classification authority was able to identify or describe.

        3.        Classified information related to intelligence sources, methods, and analytical

 processes was designated as Sensitive Compartraented Information (“SCI”).               SCI was to be

 processed, stored, used, or discussed in an accredited Sensitive Compartmented Information

 Facility (“SCIF”), and only individuals with the appropriate security clearance and additional SCI

 permissions could have authorized access to such classified national security information.

        4.        Classified information, including SCI, was marked according to its classification

 and applicable SCI compartments, following standard formats for different types of media.

 including headers and footers stating the highest classification level.

         5.       Pursuant to Executive Order 13526, information classified at any level could be

 lawfully accessed only by persons determined by an appropriate United States government official

 to be eligible for access to classified information, who had signed an approved non-disclosure

 agreement, who received a security clearance, and who had a “need to know” the classified

 information. Classified information could only be stored or discussed in an approved facility.




                                                     2



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                                      Page 3 of 5 PagelD# 7



                                            COUNT ONE


                      (WillfulTransmission of National Defense Information)

        6.       The General Allegations above are fully incorporated here by reference.

        7.-      On or about October 17, 2024, in an offense committed outside of the jurisdiction

 of any particular State or district of the United States, including Phnom Penh, Cambodia, within

 the extraterritorial jurisdiction of the United States and therefore within the venue of the United

 States District Court of the Eastern District of Virginia pursuant to Title 18, United States Code,

 Section 3238, as the District of the last known residence of the offender, defendant

                                   ASIF WILLIAM RAHMAN


 having unauthorized possession of, access to, and control over a classified document relating to

 the national defense, willfully retained the document and failed to deliver it to the officer or

 employee of the United States entitled to receive it, and attempted to and did, in fact, willfully

 communicate, deliver, transmit, and cause to be communicated, delivered, and transmitted that

 document to a person not entitled to receive it, to wit, a document marked as classified at the TOP

 SECRET//SCI level which contained information relating to the national defense (“Document 1”).

                    (In violation of Title 18, United States Code, Section 793(e)).




                                                  3



             Case 1:24-mj-00142        Document 1        Filed 11/13/24       Page 5 of 8
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Case l:24-cr-00249-PTG *SEALED* Document 2 *SEALED* (Court only)                          Filed 11/07/24
                                      Page 4 of 5 PagelD# 8



                                             COUNT TWO


                      (WilHiil 'rransniission ofNational Defense Information)

        8.       The General Allegations above are full}' incoiporaled here by reference.

        9.       On or about October 17, 2024, in an offense committed outside of the jurisdiction

 of any particular State or district of the United States, including Plmom Penh, Cambodia, within

 the extrateiTitorial jurisdiction of the United States and therefore within the venue of the United

 States District Couit of the Eastern District of Virginia pursuant to Title 18, United States Code,

 Section 3238, as the District of tlie last known residence of tlie offender, defendant

                                   ASIF WILLIAM RAHMAN


 having unauthorized possession of, access to, and control over a classified document relating to

 the national defense, willfully retained the document and failed to deliver it to the officer or

 employee of the United States entitled to receive it, and attempted to and did, in fact, willfully

 communicate, deliver, ti'ansmit, and cause to be communicated, delivered, and transmitted that

 document to a person not entitled to receive it, to wit, a document marked as classified at tlie TOP

 SECRET//SCI level which contained information relating to the national defense ("Document 2'').

                    (In violation of Title 18, United States Code, Section 793(e)).

                                                       ATRUE BllJ
                                                                   REDACTED




         JESSICA D. ABER                           MATTHEW G. OLSEN
         United States Attorney                    Assistant Attorney General


 By:
         Troy A. Edwards                           Brett Reynolds
         Anthony Rodregous                         Trial Attorney
         Assistant United States Attorneys         Counterintelligence and Export Control Section
                                                   National Security Division

                                                   4



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                      Case 1:24-cr-00249-PTG Document 8 Filed 11/14/24 Page 11 of 17 PageID# 27
                    Case l:24-cr-00249-PTG *SEALED* Document 2 *SEALED* (Court only)                                Filed 11/07/24
                                                 Page 5 of 5 PagelD# 9
FORM OBD-3'I                          No.: l:24-CR-249
          APR, 31

                                                  UNITED STATES DISTRICT COURT

                                                           Eastern District of Virginia
                                                              Alexandria Division



                                                 THE UNITED STATES OF AMERICA
                                                                        V,



                                                     ASIF WILLIAM RAHMAN



                                                            INDICTMENT

                         Count 1: Willful Transmission of National Defense Information, in violation of 18 U.S.C. § 793(e)

                         Count 2; Willful Transmission of National Defense Information, in violation of 18 U.S.C. § 793(e)

                                                                     A true bill.


                                                                    REDACTED


                                                                         “7
                               Filed in open court this-                                                         day,

                                                     of-               ■A.D. 20.



                                                                      Clerk




                                      Boil, $■




                               Case 1:24-mj-00142               Document 1          Filed 11/13/24         Page 7 of 8
              Case 1:24-cr-00249-PTG Document 8 Filed 11/14/24 Page 12 of 17 PageID# 28



AO 442 (Rtv. il/ll) Arrest Warriim



                                           United States District Court
                                                                                   for the

                                                                   Eastern District of Virginia
                                                                                                                                          n          o            r?

                      United States of America                                                        V                                                       i

                                   V.
                                                                                    )
                                                                                                                                                         L^r\U.tUK;
                      ASIF WILLIAM RAHMAN                                                                     1:24-CR-249
                                                                                    )        Case No.
                                                                                    )
                                                                                    )
                                                                                    )
                                                                                    )
                             De/i'iidani


                                                               ARREST WARRANT
To:        Any authori/'ed law enforcement officer


           YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
Ciwiiie o/person lo be airesied)        ASIF WILLIAM RAHMAN
who is accused of an offense or violation based on the following document filed with the court:

      Indictment           □ Superseding Indictment                      n information          O Superseding Information                       O Complaint
□     Probation Violation Petition              O Supervised Release Violation Petition                        □ Violation Notice               □ Order of the Court

This offense is briefly described as follows;
    The defendant willfully transmitted national defense information, in violation of Title 18, United States Code,
    Section/93(e).




Date;

                                                                                                                 hsidng officer's signature
Citv and slate;         Alexandria. VA
                                                                                               Janclirk-, Dt.puk iixk.
                       MFlIfe.,. ■
                                            1       n 7^
                                                                                                                   printed name and title        '
                                                     u
                                                               i
                                                t

                                                           J       Ic'   I
                                                                              Return

          This warralt wj                                                               , and the person was arrested on (date)
at (city and state)


         NOTICE: BEFORE ARREST, VAMD,
                                                                              ■s


Date:

                      THROUGH NCIC. ORlGLiiAL
                                                                                                     - ●>;

                                                                                                             “ -’●t/re.vn'/.jg officer'sfighatiira


                       HELD BY U.S. MARSHAL.                                                                                           u
                                                                                                                   Printed name and title




                           Case 1:24-mj-00142                        Document 1               Filed 11/13/24                    Page 8 of 8
     Case 1:24-cr-00249-PTG Document 8 Filed 11/14/24 Page 13 of 17 PageID# 29


                           IN THE DISTRICT COURT OF GUAM
                                 TERRITORY OF GUAM
                                  CRIMINAL MINUTES
                                      GENERAL


CASE NO.: MJ-24-00142                        DATE: November 14, 2024

HON. FRANCES M. TYDINGCO-GATEWOOD, Chief Judge, Presiding
Law Clerk: Judith P. Hattori / Julian Burlando Salazar Court Reporter: Veronica Flores
Courtroom Deputy: Virginia T. Kilgore / Anna Perez     Hearing Times: 4:20 - 4:39

APPEARANCES:
Defendant: Asif William Rahman                     Attorney: Leilani Lujan
   Present     Custody   Bond      P.R.             Present    Retained    FPD    CJA
U.S. Attorney: Brett Reynolds and Shawn N. Anderson              U.S. Agent: Keith Starr, FBI
U.S. Probation: Trina Duenas
Interpreter:                                                     Language:

PROCEEDINGS: Initial Appearance on Petition for Writ of Removal
   Ms. Lujan made a limited appearance for the defendant for purposes of his initial
    appearance and stated that she would not request reimbursement for her services.
   Defendant waived an identity hearing and consented to his transfer to the Eastern
    District of Virginia.
   Mr. Reynolds and USPO recommended detention. Ms. Lujan did not object to detention
    pending transfer to the Eastern District of Virginia.
   Writ of Removal executed by Court. Ms. Lujan's request for an expedited transfer
    granted.


NOTES:




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       Case 1:24-cr-00249-PTG Document 8 Filed 11/14/24 Page 15 of 17 PageID# 31



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 5   MATTHEW G. OLSEN
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 6   Trial Attorney
     Counterintelligence and Export Control Section
 7   National Security Division, U.S. Department of Justice
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 8   Brett.Reynolds@usdoj.gov
     (202) 233-2113 (office) / (202) 704-9720 (cell)
 9
     Attorneys for the United States of America
10
                                  IN THE DISTRICT COURT OF GUAM
11
      UNITED STATES OF AMERICA,                         MAGISTRATE CASE NO. 24-00142
12
                     Plaintiff,
13
                     vs.
14                                                                         ORDER
      ASIF WILLIAM RAHMAN,
15
                     Defendant.
16

17          Defendant ASIF WILLIAM RAHMAN having been arrested on a Warrant of Arrest and

18   having waived identity, ASIF WILLIAM RAHMAN, is committed to the U.S. Marshal’s Service

19   for the District of Guam for removal to the Eastern District of Virginia and there deliver him to

20   the U.S. Marshal for the Eastern District of Virginia or to some other officer authorized to receive

21   him.

22          IT IS SO ORDERED.
                                                               /s/ Frances M. Tydingco-Gatewood
23                                                                 Chief Judge
                                                               Dated: Nov 14, 2024
24




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       Case 1:24-cr-00249-PTG Document 8 Filed 11/14/24 Page 16 of 17 PageID# 32



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      Trial Attorney
      Counterintelligence and Export Control Section
 7    National Security Division, U.S. Department of Justice
      Washington, D.C. 20530
 8    Brett.Reynolds@usdoj.gov
      (202) 233-2113 (office) / (202) 704-9720 (cell)
 9
     Attorneys for the United States of America
10
                                  IN THE DISTRICT COURT OF GUAM
11
      UNITED STATES OF AMERICA,                        MAGISTRATE CASE NO. 24-00142
12
                     Plaintiff,
13                                                                 WRIT OF REMOVAL
                     vs.
14
      ASIF WILLIAM RAHMAN,
15
                     Defendant.
16
     TO:    U.S. MARSHAL
17          District of Guam
18          An Indictment for Defendant, ASIF WILLIAM RAHMAN, having been filed in the United

19   States District Court for the Eastern District of Virginia, Criminal Case No. 1:24-cr-249, charging

20   him with two counts of Willful Retention and Transmission of National Defense Information in

21   violation of 18 U.S.C. § 793(e) and a Warrant for Arrest having been issued for his arrest, and

22          Said Defendant, ASIF WILLIAM RAHMAN, having been arrested and brought to this

23   District on a warrant of arrest issued pursuant to the above Indictment, admitted identity, and to

24   being held to answer in the Eastern District of Virginia, Defendant, ASIF WILLIAM RAHMAN,




                Case 1:24-mj-00142        Document 5        Filed 11/14/24     Page 1 of 2
       Case 1:24-cr-00249-PTG Document 8 Filed 11/14/24 Page 17 of 17 PageID# 33



 1   is committed to your custody pending removal to the Eastern District of Virginia;

 2          You are therefore commanded to remove ASIF WILLIAM RAHMAN, forthwith to the

 3   Eastern District of Virginia and there deliver him to the United States Marshal for the District or

 4   to some other officer authorized to receive him.

 5          IT IS SO ORDERED.

 6                                                             /s/ Frances M. Tydingco-Gatewood
                                                                   Chief Judge
 7                                                             Dated: Nov 14, 2024
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                Case 1:24-mj-00142        Document 5        Filed 11/14/24     Page 2 of 2
